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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

HN5040 Limited,                              §
     Plaintiff,                              §
                                             §                     3:24-cv-302
                                                         C.A. No. ___________
v.                                           §
                                             §        IN ADMIRALTY, Rule 9(h)
Curtin Maritime, Corp., in personam,         §
and the Tug KAREN C and barge                §
SAND POINT, in rem,                          §
       Defendants.                           §

                  PLAINTIFF’S VERIFIED ORIGINAL COMPLAINT

       COMES NOW HN5040 Limited (hereinafter “Plaintiff”), as owner of the M/T

SPARTO, by its attorneys ROYSTON, RAYZOR, VICKERY & WILLIAMS L.L.P., and files this

Verified Complaint for damages against Curtin Maritime, Corp., in personam (hereinafter

“Curtin”), and the Tug KAREN C and barge SAND POINT, in rem, (hereinafter sometimes

the “Tow”) and respectfully shows as follows:

                                          I.
                                JURISDICTION AND VENUE

       1.       This case is within the admiralty and maritime jurisdiction of this court

pursuant to 28 U.S.C. § 1333 and within the meaning of Rule 9(h) of the Federal Rules of

Civil Procedure and Rule C of the Supplemental Rules for Certain Admiralty and Maritime

Claims.

       2.       The Court has in rem jurisdiction over the Tug KAREN C and barge SAND

POINT pursuant to a Letter of Undertaking, dated August 7, 2023, which perfected in rem

jurisdiction.
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       3.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                               II.
                                            PARTIES

       4.        At all material times, Plaintiff was and presently is a foreign business entity

with its registered place of business in Monrovia, Liberia.

       5.        At all material times, Plaintiff owned the M/T SPARTO (IMO No. 9865116).

The M/T SPARTO is a 62,812 gross ton Malta flagged crude oil tanker built in 2020, with

a length of 249.97 meters and width of 44.03 meters.

       6.        At all material times, Defendant Curtin was and presently is a foreign

business entity with their principal place of business in Long Beach, California. Curtin is

authorized to do business in Texas and can be served through its registered agent

Corporation Service Company at 211 East 7th Street, Ste. 620, Austin, TX 78701.

       7.        At all material times, Curtin owned and operated the pusher tug KAREN C

(IMO No.: 7319010), a 448 gross ton United States flagged tugboat vessel built in 1973,

with a length of 38.4 meters and width of 10.36 meters.

       8.        At all material times, Curtin owned and operated the barge SAND POINT

(USCG Doc. No. 1326208) a dump scow barge with a length of 96 meters and a breadth

of 16.45 meters.

                                               III.
                                             FACTS

       9.        On the morning of July 16, 2023, after loading her cargo, the M/T SPARTO

departed Bayport Container Terminal under compulsory pilotage (2 pilots).




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         10.     The M/T SPARTO transited the Bayport Ship Channel before turning into

the Houston Ship Channel (hereinafter the “Channel”) in Galveston Bay. The KAREN C

and SAND POINT were also outbound in the Channel, ahead of the M/T SPARTO

transiting on the far green side of the Channel (right side outbound).

         11.     At approximately 0804 in the vicinity of HSC lights 53/54, the M/T SPARTO

was steering the centerline of the channel at a speed of 8.9 knots. The Tow was ahead on

the green side of the main HSC (right of the M/T SPARTO) traveling at a speed of 6.2

knots.

         12.     By approximately 0810, when the two vessels were essentially abeam of one

another, the Tow had slowed to 3.7 knots and was just out of the main channel on the green

side. The M/T SPARTO was still steering the centerline at a speed of 9.1 knots.

         13.     At approximately 0811, in the vicinity of HSC lights 49/50, the Tow had

increased her speed to 7.2 knots, had entered the main Channel and was coming toward

M/T SPARTO. At this time, the M/T SPARTO had already safely passed the Tow without

incident and she continued to steer the centerline at a speed of 8.9 knots.

         14.     At approximately 0812, just after the M/T SPARTO came through HSC lights

49/50, and as she continued to navigate on the centerline at a speed of 8.5 knots, the barge

of the Tow, then making 8.6 knots, collided with the starboard quarter, aft of the bridge

wing, of the M/T SPARTO.

         15.     After the collision, the M/T SPARTO, still navigating on the centerline of the

Channel, momentarily reduced speed to assess the situation before increasing speed, with

the Tow then coming away from the side of the M/T SPARTO.


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       16.       As a result of the collision, the M/T SPARTO sustained hull damage, which

required temporary repairs before the vessel could continue with her voyage as well as later

permanent repairs.

       17.       Also as a result of the collision and the subsequent need for repairs, Plaintiff

suffered economic losses and expenses, including but not limited to loss of hire.

                                                IV.
                                      CAUSES OF ACTION

       18.       Plaintiff realleges and incorporates herein each and every allegation and

averment contained in Paragraphs 1-17 of Plaintiff’s Verified Original Complaint with the

same force and effect as if the same were more fully set forth herein.

       19.       Under the General Maritime Law, Defendants owed Plaintiff a duty to

observe the standards of good and prudent seamanship, and a duty to exercise ordinary and

reasonable care while operating in the Houston Ship Channel.

       20.       Additionally, Defendants had the statutory duty to follow the Inland

Navigation Rules and the United States Coast Guard regulations while navigating the

Houston Ship Channel so as to minimize the risk of collision.

       21.       “The applicable standards of care in a collision case stem from the traditional

concepts of prudent seamanship and reasonable care, statutory and regulatory rules, and

recognized customs and usages.” Stolt Achievement, Ltd. v. Dredge B.E. LINDHOLM, 447

F.3d 360, 364 (5th Cir. 2006).

       22.       Defendants breached these duties through the following instances of

negligence, negligence per se, gross negligence, and/or recklessness:



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       (a)       The unseaworthy condition of KAREN C;

       (b)       Failure to navigate, steer, and control KAREN C properly and in accordance

                 with the applicable rules of navigation and/or industry customs;

       (c)       Carelessly navigating KAREN C without taking into consideration all forces

                 to be taken into account by a competent navigator;

       (d)       Failure to properly supervise the KAREN C’s crew;

       (e)       Failure to properly train their employees and/or the KAREN C’s crew;

       (f)       Operating KAREN C with an inadequate crew;

       (g)       Failure to take reasonable action to prevent or minimize the events that

                 precipitated the collision;

       (h)       Failure to operate KAREN C with ordinary and reasonable care;

       (i)       Negligently implementing or failing to implement policies and procedures

                 appropriate to conduct maritime operations safely;

       (j)       Violating U.S. Coast Guard, IMO, and/or other applicable regulations

                 intended to prevent collisions at sea; and

       (k)       Other acts or omissions deemed negligent, grossly negligent, negligent per

                 se, and/or reckless to be shown at trial.

       23.       In a negligent manner, the KAREN C came out of the barge lane and into the

main navigable channel coming into contact with the M/T SPARTO.

       24.       Because of the draft of the M/T SPARTO, she was restricted to navigating in

the main Channel.

       25.       The negligent navigation of the KAREN C was the sole cause of the collision.


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       26.       “Establishing liability in a collision case is eased by the Pennsylvania rule,

which provides that when a vessel is in violation of a statutory duty, the burden is on the

offending vessel to prove that its conduct did not and could not have caused the collision.”

Stolt, 447 F.3d at 364; see also The Pennsylvania., 86 U.S. 125, 136 (1873).

       27.       The Inland Navigational Rules apply to the Houston Ship Channel, where

this collision occurred and specify the obligations of each of the vessels involved.

       28.       The Tow violated the Inland Navigational Rules, including but not limited to

Rules 2, 5, 6, 7, 8, 9, 13, 17, and 18, which were the contributory and proximate cause of

the collision.

       29.       Curtin is responsible in personam for the negligent operation and navigation

of its vessel the KAREN C.

       30.       The KAREN C and the SAND POINT are responsible in rem for the

navigational negligence.

       31.       By virtue of the KAREN C and the SAND POINT’s tortious actions causing

damage to the M/T SPARTO and Plaintiff, HN5040 Limited has a maritime lien against

the KAREN C and the SAND POINT for the full amount of its claim.

       32.       Under the U.S. Maritime Law and Rule C of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions, Plaintiff would be entitled to

arrest the KAREN C and the SAND POINT to enforce its maritime lien. However, Curtin

has provided a Letter of Undertaking, perfecting in rem jurisdiction and obviating the need

for arrest. Plaintiff’s maritime lien may be enforced against the Letter of Undertaking.




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       33.       The collision, the associated damages to the M/T SPARTO and the Tow

arising from the collision were not caused by any fault of Plaintiff or the M/T SPARTO.

       34.       Plaintiff reserves the right to amend this pleading to allege other faults on the

part of the Tow and of Curtin as the facts pertaining to this casualty become more fully

developed.

                                                 V.
                                            DAMAGES

       35.       As a proximate cause of these events, Plaintiff has sustained significant

losses resulting from the collision, including but not limited to costs to repair physical;

damage, delay, loss of use, loss of charter hire, expenses and economic loss, in the total

amount of $720,500.00, as near as may be presently ascertained.

       36.       The M/T SPARTO sustained significant damage to her hull and otherwise,

requiring repairs and causing delays resulting in the vessel being placed off-hire and the

loss of charter hire to Plaintiff.

       37.       The temporary repairs which took place offshore Galveston in order to allow

the M/T SPARTO to continue and complete her voyage amounted to $34,502.27.

       38.       As a result of the necessity for temporary repairs, the time charterer placed

the M/T SPARTO off-hire, resulting in a loss of hire of $52,306.88 during the period of the

temporary repairs.

       39.       Bunker consumption during the off-hire period for the temporary repairs

totaled $10,275.80.




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       40.       Permanent repairs to the M/T SPARTO were also necessary, amounting to

$219,105.05.

       41.       The off-hire loss associated with permanent repairs totaled $267,232.28.

       42.       Bunker consumption during permanent repairs amounted to $105,377.50.

       43.       Lastly, ancillary expenses associated with these repairs amounted to

$31,700.22.

                                           VI.
                                   CONDITIONS PRECEDENT

       44.       All conditions precedent have been performed, satisfied, and/or discharged.

       45.       All and singular the premises as recited above are true and correct and within

the admiralty and maritime jurisdiction of the United States and this Honorable Court.

                                               VI.
                                            PRAYER

       WHEREFORE, Plaintiff HN5040 Limited respectfully prays that:

       a.        That due process in the form of law, according to the course and practice of
                 this Honorable Court in causes of admiralty and maritime jurisdiction within
                 the meaning of Rule 9(h) of the Federal Rules of Civil Procedure, issue
                 against the Defendants, citing them to appear and answer the foregoing,
                 failing which a default will be taken against them for the principal amount of
                 the claim, plus interest, costs and attorney’s fees;

       b.        That Plaintiff have judgment entered in its favor against Defendants, jointly
                 and severally, on its causes of action for the amount of Plaintiffs’ damages,
                 together with pre- and post-judgment interest, costs and disbursements of this
                 action and attorney’s fees;

       c.        That levy be had on the Letter of Undertaking to satisfy Plaintiffs’ judgment;
                 and

       d.        That the Court grant such other, further and different relief as the Court
                 deems just and proper.


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                                  Respectfully submitted,

                                By: /s/ Dimitri P. Georgantas
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OF COUNSEL:

ROYSTON, RAYZOR, VICKERY & WILLIAMS, L.L.P.




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HN5040 Limited,                                  §
     Plaintiff,                                  §
                                                  §            C.A. No.
v.                                                §
                                                  §         IN ADMIRALTY, Rule 9(h)
Curtin Maritime, Corp., in personam,              §
and the Tug KAREN C and barge                     §
SAND POINT, in rem,                               §
       Defendants.                                §
                                            VERIFICATION

STATE OF TEXAS                      §
                                        §
COUNTY OF GALVESTON                 §

      BEFORE ME, the undersigned authority, on this day personally appeared Dimitri P.
Georgantas, who being duly sworn, deposed and stated as follows:

      “I am an attorney for Plaintiff HN5040 Limited in connection with the referenced
      matter. I have read the foregoing Verified Original Complaint and know the
      contents thereof, and that the same are true to the best of my knowledge,
      information and belief, based upon documentation and information provided to me
      by Plaintiff. The reason that I make this verification instead of Plaintiff is that
      Plaintiff does not have officers or directors withip this District.”




SUBSCRIBED AND SWORN to before me on the 22nd day of October; 2024.




                ROBIN GILPIN
               NOTARY PUBLIC
               STATE OF TEXAS
                                               Notary Public in and for the
            MY COMM. EXP 03/11/28              State of Texas
             NOTARY ID 7129018
